                             No. 21-3903
             __________________________________________

                          United States Court of Appeals
                              for the Eighth Circuit
                                 _____________

                             D. BART ROCKETT,
              as next friend of his minor children K.R. and B.R.,
                               Plaintiff-Appellee,

                                        v.

                THE HONORABLE ERIC EIGHMY,
                       Defendant-Appellant.
_______________________________________________________________

        Interlocutory Appeal from the United States District Court
                   for the Western District of Missouri
                     The Honorable Douglas Harpool
_______________________________________________________________

                       APPELLEE’S BRIEF
_______________________________________________________________

Respectfully submitted,

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             Summary of the Case, and Request for Oral Argument

      Judge Eighmy heard a child custody modification case in Taney County,

Missouri concerning two children, K.R. and B.R., longtime residents in California.

Despite their father’s objection to jurisdiction, the parents settled on the record.

      After court proceedings had ended for the day, the children stated to their

mother in the lobby that they did not want to leave with her. Judge Eighmy

approached the children, and personally seized and jailed them in adult cells for

approximately an hour to “teach them a lesson.” He did this without a judicial

proceeding, order, or judgment as to contempt, delinquency, or probable cause.

There is no record. He was not functioning as a judge normally does.

      Months later, when the children were quarantining in Louisiana during

Covid-19, Judge Eighmy issued a Pick Up Order. But no proceeding was before

him that warranted that sanction, and he acted in the clear absence of UCCJEA

subject matter and personal jurisdiction. The children were confined for two days.

During the first day, the Missouri Supreme Court issued a writ of prohibition

removing Judge Eighmy from the modification case and vacating his orders.

      The father, D. Bart Rockett, as next friend of his children, filed § 1983

claims, for which the district court denied Judge Eighmy judicial immunity.

Rockett requests 15 minutes of oral argument to review what the district court

called “very unique” immunity issues.




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                             Jurisdictional Statement

      Rockett agrees with Judge Eighmy that the district court had subject matter

jurisdiction over his children’s 42 U.S.C. § 1983 claims for damages under 28

U.S.C. §§ 1331 and 1343.

      Rockett is not, however, seeking declaratory relief under 28 U.S.C. § 2201.

Further, he is not seeking to re-litigate any state court proceeding. The Rooker-

Feldman doctrine is inapplicable. Cf. Johnson v. De Grandy, 512 U.S. 997, 1005-

06 (1994).

      This Court has pendent jurisdiction over Judge Eighmy’s interlocutory

appeal because judicial immunity is immunity from suit. Mireles v. Waco, 502

U.S. 9, 10 (1991); Bradley v. Fisher, 80 U.S. (13 Wall.) 335, 347 (1871).




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                                 Statement of the Issues

I.       Personally seizing and jailing children outside of a judicial proceeding is

         functionally not judging.

         Most Apposite Cases, and Constitutional and Statutory Provisions:

         De Rubio v. Herrera, 541 S.W.3d 564 (Mo. Ct. App. 2017)

         Gregory v. Thompson, 500 F.2d 59 (9th Cir. 1974)

         Malina v. Gonzales, 994 F.2d 1121 (5th Cir. 1993)



II.      Judge Eighmy’s Pick Up Order was issued in the clear absence of

         jurisdiction, not in excess of jurisdiction.

         Most Apposite Cases, and Constitutional and Statutory Provisions:

         Blanchette v. Blanchette, 476 S.W.3d 273, 278 (Mo. 2015)

         Ketteman v. Ketteman, 347 S.W.3d 647 (Mo. Ct. App. W.D. 2011)

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         RSMo. 452.740




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                                Statement of the Case

        This is an interlocutory appeal by Judge Eighmy of the district court’s denial

of his judicial immunity at the Rule 12(b)(6) motion to dismiss stage.

I.      Introduction

        B.R. and K.R. are minors. App. 7; R. Doc. 1, at 1; App. 10; R. Doc. 1, at 4;

App. 28; R. Doc. 1, at 22. They are represented in this case by their father D. Bart

Rockett 1 as their next friend under F. R. Civ. P. 17(c)(2). App. 8; R. Doc. 1, at 2.

Their parents divorced in 2009 pursuant to a judgment issued by another judge in

Taney County, Missouri. App. 9; R. Doc. 1, at 3. The children and their parents,

notwithstanding the divorce, moved as a family unit to Los Angeles County,

California, where the children attended public school and pursued careers in the

entertainment industry. Id. By 2011, their mother had entered a relationship with

another man, and in 2012 she moved to Arizona. Id. By agreement, the children

stayed in California. Id. In 2013, their mother filed for a custody modification in

California. App. 9-10; R. Doc. 1, at 3-4. That case has remained pending ever

since. App. 10; R. Doc. 1, at 4. Their mother has variously claimed Arizona,




1
 Although the children and their father share a last name, the brief generally uses
“Rockett” to describe Plaintiff-Appellee. On information, the children’s mother—
not a party here—formerly used the last name “Rockett” but now uses her maiden
name “Ballard.”


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California, Missouri, and Utah as her residences during the California case’s

pendency. Id.

II.      The 2018 Taney County custody modification case

         In July 2018, while her 2013 Los Angeles modification case was still

pending, the mother filed a new modification case in Taney County, to which

Judge Eighmy was assigned. App. 11; R. Doc. 1, at 5. Judge Eighmy did not

recuse himself despite a history of representing Rockett’s mother that culminated

in her firing him and having a falling out.2 In August 2018, Judge Eighmy

appointed a Guardian Ad Litem. App. 11; R. Doc. 1, at 5.

         At the time of the mother’s Missouri filing, it had been nine years since

Rockett and the children had resided in Missouri. Id. Judge Eighmy later made a

docket entry record on October 31, 2019, noting that no party resided in Missouri

and “encourag[ing]” the mother “to register the judgment in Utah and request relief

from that State’s court under the emergency provisions of the UCCJEA.” Id.; App.

23; R. Doc. 1, at 17.


2
  Judge Eighmy, before being elected to the bench, had served as counsel for
Rockett’s mother, Linda Luttenbacher, on several matters, including a divorce
proceeding. (During that time Rockett and his mother were estranged. They have
since reconciled. App. 10; R. Doc. 1, at 4.) Ms. Luttenbacher and then-Attorney
Eighmy had a falling out over his alleged negligence in defending her in a traffic
case, which resulted in her arrest on a failure to appear warrant. App. 11; R. Doc.
1, at 5. Judge Eighmy’s conflicts of interest are not the basis for the children’s
§ 1983 claims, but provide context—and perhaps an inference—for his motivation
for his actions.


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      At the time of the filing, Judge Eighmy lacked jurisdiction under the

Uniform Child Custody Jurisdiction and Enforcement Act (UCCJEA) because

undisputedly the children (and their father) had no significant connection with

Missouri for nine years, and substantial evidence was no longer available in

Missouri concerning the children’s care, protection, training, and personal

relationships. RSMo. 452.740 and .745; Blanchette v. Blanchette, 476 S.W.3d

273, 278 (Mo. 2015); App. 11; R. Doc. 1, at 5. Rockett preserved the issue of lack

of jurisdiction by timely motion, which Judge Eighmy denied. Missouri Rule

55.27(a) and (g). App. 11-12; R. Doc. 1, at 5-6.

      Over the objection of both Rockett’s counsel and the GAL, Judge Eighmy

held an ex parte hearing with the mother’s counsel on September 26, 2019, and

confirmed that a hearing on jurisdiction and then trial would be held on October 8.

A week later, Rockett retained new counsel, who filed a second motion to vacate

for lack of jurisdiction. App. 12; R. Doc. 1, at 6. Another week later, the day

before the October 8 hearing, both parents attended a separate custody hearing in

Los Angeles before California Judge Joshua Wayser, who was presiding over the

mother’s original 2013 modification case. App. 13; R. Doc. 1, at 7. That evening,

Rockett and the children traveled from California to Missouri for the hearing

before Judge Eighmy. Id.




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       The next morning, the parents appeared with counsel before Judge Eighmy.

The children sat in the courthouse lobby with their paternal grandmother and step-

grandfather. App. 13-14; R. Doc. 1, at 7-8. The children were uncomfortable

seeing their mother, and they initially refused to speak with her despite

encouragement to do so by the GAL. App. 14; R. Doc. 1, at 8. The children also

told their mother that they were “done with her” and encouraged her to drop the

custody modification. Id.

       Inside the courtroom, Judge Eighmy did not take up the jurisdictional issue,

but instead stated words to the effect of “go work this out, or the kids will be out of

the entertainment industry.” App. 15; R. Doc. 1, at 9. The parents negotiated a

written settlement. App. 15-16; R. Doc. 1, at 9-10. Although the writing did not

address which parent would take custody of the children that day, the parents

informally understood that the children were to go with their mother that evening.

Id. Judge Eighmy made an oral record of the settlement. App. 16; R. Doc. 1, at

10. He also signed the parties’ settlement document, but did not denominate it a

judgment under Missouri law3, instead requiring in a docket entry that the mother’s

counsel “prepare” a judgment. App. 17; R. Doc. 1, at 11.




3
 See Prof’l Funding Co. v. Bufogle, 617 S.W.3d 509, 513 (Mo. Ct. App. E.D.
2021).


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       Judge Eighmy made a further docket entry that he had spoken with Judge

Wayser in Los Angeles, and they had agreed that Missouri had jurisdiction. App.

17; R. Doc. 1, at 11. Such a telephone call, if it occurred as Judge Eighmy

describes, does not follow with the jurisdiction determination requirements of the

UCCJEA, in that the parties were neither allowed to participate in the

communication, nor given the opportunity to present facts and legal arguments

before a decision on jurisdiction was made. RSMo. 452.730; Blanchette, 476

S.W.3d at 280. Nor does the California court record reflect any such conversation

or process, let alone termination in favor of Missouri jurisdiction. App. 25; R.

Doc. 1, at 19.

       Judge Eighmy then ended the hearing and his court session for the day.

App. 17; R. Doc. 1, at 11. Rockett left the courthouse to retrieve the children’s cell

phones from his parked car. App. 18; R. Doc. 1, at 12. When he attempted to re-

enter the courthouse, he was told by court officers to leave or be arrested. Id.

III.   Judge Eighmy personally seizes and jails the children

       In the lobby area of the courthouse, after court proceedings had ended for

the day, the children told their mother and Dr. Cindy Baker, a court-ordered child

counselor, that they did not agree with the settlement and did not want to go with

their mother. Id. Judge Eighmy, no longer hearing any judicial proceeding,

entered the lobby and approached the children. Id. The children stated to him as




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well that they did not want to go with their mother, either that evening or to Utah

generally. Id. Judge Eighmy then took the children and Dr. Baker into a

conference room off the lobby, and proceeded to lecture the children on the evils of

Hollywood, their need to grow up “normal,” and their need to go live with their

mother in Utah. App. 19; R. Doc. 1, at 13. The children respectfully disagreed.

Id.

      Judge Eighmy became visibly agitated, and essentially stated “I will show

you what I can do; I can put you in jail.” Id. Judge Eighmy then led the children

to adult detainee jail cells. Id. He directed the children to remove their shoes,

socks, and jackets. App. 20; R. Doc. 1, at 14. He directed the boy, K.R., to

remove a bracelet from a church camp, even after K.R. informed Judge Eighmy

that he had made a religious commitment not to remove it. Id. Two uniformed

officers, on Judge Eighmy’s direction, then locked the children in separate,

individual cells. Id. When the girl B.R. stood on a raised bed mat because her feet

were cold, a male officer banged on the window and told her to get down. Id. The

children suspected that officers were watching them on cameras, and so the

children did not use the open toilets. App. 20-21; R. Doc. 1 at 14-15.

      Approximately an hour of confinement passed. App. 21; R. Doc. 1, at 15.

Judge Eighmy and the officers returned, and Judge Eighmy stated “Are you ready

to listen to me? Ready to comply?” Id. Judge Eighmy then asked “Will you go




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with your mother or do you want to go back in there?” Id. The girl B.R. stated

“Respectfully, how can you just lock up kids? This isn’t legal, we’ve done nothing

wrong.” Id. The boy K.R. added words to a similar effect. Id. Judge Eighmy

then responded to the effect of: “How would you like me to take you away from

your parents and send you to live in the Missouri foster care system?” Id. The

children, fearing further jail time and/or foster care, stated they would go and live

with their mother in Utah. Id.

      Judge Eighmy and a female officer then returned the children to their mother

in the courthouse lobby. Id. The female officer stated loudly to the mother “If you

have any more problems with the kids, call me.” Id. Judge Eighmy then yelled at

the children until they again stated, under duress and in fear of further jailing

and/or foster care, that they would go and live with their mother in Utah. App. 22;

R. Doc. 1, at 16. The children then left with their mother. Id.

      At no point were the children permitted to attend any part of any judicial

proceeding. Id. At no point was either child adjudicated to be delinquent or in

contempt, or found under probable cause to have committed a crime. Id. At no

point did Judge Eighmy notify the GAL or Rockett that he was going to jail the

children, or provide any opportunity for either party (let alone the children) to be

heard. Id. At no point did Judge Eighmy make any judicial record or findings, or

enter any orders or judgments, related to his personal seizure and jailing of the




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children. Id. At no point were the children afforded any process of law related to

the jailing. Id.

       Judge Eighmy states that he did not use any force, but rather merely “told

the children to follow him.” Eighmy brief at 9 (citing App. 19; R. Doc. 1 at 13).

That ignores that Judge Eighmy acted under color of law by invoking his judicial

authority in seizing the children, even if he did not use actual physical force.

      Judge Eighmy also states that mother never objected. Eighmy brief at 9.

But that is not alleged in the pleading, and there is no record of that. There is no

basis for Judge Eighmy to assert that he notified the children’s mother, or provided

her with an opportunity to be heard. There was no motion or process of law

afforded either parent—that is, either party to the custody modification case—

related to jailing the children. App. 22; R. Doc. 1, at 16. In short, jailing the

children was never an issue or a case before Judge Eighmy in any judicial

proceeding.

   IV.    Judge Eighmy’s Pick Up Order causes a second seizure of the

          children

       In spring 2020, Rockett and the children moved to their family farm in

Union Parish, Louisiana, to quarantine from the Covid-19 virus. App. 25; R. Doc.




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1, at 19. At the time, Rockett had custody because the children were also working

at a theater in Tennessee. Id.

      In May 2020, the mother filed a motion for civil contempt against Rockett in

Judge Eighmy’s court. She also filed a proposed order to show cause against

Rockett, alleging he was withholding custody of the children. Id. She made no

filings related to picking up the children. Id.

      Judge Eighmy issued a show cause order for Rockett and the children to

appear on August 13. Id. Rockett retained new counsel, who filed motions to

disqualify Judge Eighmy for cause, to dismiss the civil contempt motion, to strike

the proposed show-cause order, and to continue the August 13 hearing so that

counsel could conduct discovery. Id. Rockett and the children did not appear at

the August 13 hearing. Id. Rockett’s new counsel advised them not to attend since

Judge Eighmy had already held that no party lived in Missouri. Id. The new

counsel attended the hearing in order to argue Rockett’s pending motions. Id.

Judge Eighmy denied all motions and “generally reset” the contempt action filed

by the mother. Id. Judge Eighmy also made a docket entry finding Rockett in

contempt of court for failure to produce the children at the hearing, and ordered a

writ of body attachment against Rockett. App. 27; R. Doc. 1, at 21; App. 43; R.

Doc. 1-3.




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      At the same hearing, Judge Eighmy issued a separate Pick Up Order for the

children. App. 27; R. Doc. 1, at 21; App. 42; R. Doc. 1-2. The Order does not cite

to any statutory or other legal authority. Id. Pick Up Orders are authorized by

Missouri law only as to capias orders related to juvenile delinquency, RSMo.

211.121, and there was no such petition or motion pending before Judge Eighmy as

this was not a juvenile case. The UCCJEA does authorize warrants to take custody

of children, but only where there is a petition alleging serious imminent physical

harm or removal from Missouri, and a hearing. RSMo. 452.885. There was no

such petition or hearing here.

      On September 10, a few weeks later, Rockett filed a petition for writ of

prohibition against Judge Eighmy, first in the Missouri Court of Appeals, and then

in the Missouri Supreme Court. App. 27; R. Doc. 1, at 21; App. 142-52; R. Doc.

20-1, at 1-11.

      On November 18, Union Parish deputies appeared at the family farm to

execute the Pick Up Order. App. 27; R. Doc. 1, at 21. They handcuffed the

children and read them their Miranda rights; the girl, B.R., asked for a lawyer,

which was not then provided. App. 28; R. Doc. 1, at 22. The children were held in

solitary confinement for two days in separate cells at a Louisiana juvenile

detention center, and denied visitation by Rockett. App. 30; R. Doc. 1, at 24.




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       On November 19, the children’s first full day of confinement, the Missouri

Supreme Court entered a writ of prohibition against Judge Eighmy, ordering him to

vacate all orders entered after August 5, 2020, and further ordering a senior circuit

judge to preside over Rockett’s motion to disqualify Judge Eighmy for cause.4

App. 30; R. Doc. 1, at 24; App. 44-45; R. Doc. 1-4, at 1-2.

       Rockett retained local counsel in Union Parish, who provided a copy of the

Missouri Supreme Court writ to a Louisiana judge. App. 30; R. Doc. 1, at 24.

Two days later, the Louisiana judge ordered the children released into Rockett’s

custody. App. 31; R. Doc. 1, at 25. Several months later, on April 29, 2021, the

Union Parish court entered an order determining that it had UCCJEA jurisdiction

based on Rockett and the children’s residency on the family farm. Id.; App. 188-

90; R. Doc. 1-5 at 1-3. That Court further held that Judge Eighmy had declined

jurisdiction on January 4, 2021. Id. On May 3, 2021, the mother filed a dismissal

of her Missouri case, which Judge Eighmy signed the next day. App. 31; R. Doc.

1, at 25; App. 46; R. Doc. 1, at 1-6.


4
  This was the second time in 18 months that the Missouri Supreme Court had
entered a writ of prohibition against Judge Eighmy, an extraordinary remedy, for
failing to make reasonable efforts to follow procedure. Compare State ex. re.
Rockett v. Eighmy, No. SC98716 (Mo. banc Nov. 19, 2020) with State ex. rel.
Jones v. Eighmy, No. SC97417 (Mo. banc Apr. 30, 2019). To paraphrase Lady
Bracknell, to lose one writ may be regarded as a misfortune; to lose both looks like
carelessness. Oscar Wilde, The Importance of Being Earnest (1895). (Of course,
Rockett is alleging malicious and reckless conduct here by Judge Eighmy, not
mere carelessness.)


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   V.      Procedural background of this civil rights case

        Rockett, as next friend of his children, filed his Complaint against Judge

Eighmy under 42 U.S.C. § 1983 in the Western District of Missouri. The pleading

claims damages from Judge Eighmy for unreasonable seizure under the Fourth

Amendment as to each jailing; for retaliation for the children’s exercise of their

First Amendment rights; and for physical and bodily abuse in violation of the Due

Process Clause of the Fourteenth Amendment. App. 36-40; R. Doc. 1, at 30-34.

        The pleading alleges that Judge Eighmy lacks judicial immunity because his

first, personal seizure in Taney County was functionally not a judicial act. App.

33-35; R. Doc. 1, at 27-29. The pleading further alleges that Judge Eighmy’s Pick

Up Order was made in the clear absence of jurisdiction as to the children. App. 35;

R. Doc. 1, at 29.

        Judge Eighmy moved to dismiss under Fed. R. Civ. P. 12(b)(6), asserting

judicial immunity. App. 49; R. Doc. 14, at 1. He did not, however, allege that

Rockett had failed to state a claim for his children’s four causes of action. Id. The

district court denied Judge Eighmy’s motion. App. 183; R. Doc. 30, at 4. Judge

Eighmy’s interlocutory appeal timely followed.




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                              Summary of Argument

      The district court correctly held that this case involves a “very” or

“extremely” unique set of allegations as to a state judge’s misconduct that “was not

judicial in function and lacked jurisdiction.” Add. 1, 2, 3. Judge Eighmy does not

point to any case law on all fours showing immunity for his conduct. This Court

can affirm on narrow grounds without disturbing or extending precedent.

      Judge Eighmy argues at least nine different ways that he was functioning as

a judge with jurisdiction, focusing on his motives as to why he acted as he did, and

his authority to coerce compliance. App. Br. 18.

      The touchstone of judicial immunity, however, is the nature of the function,

not the act itself or the subjective intent of the actor. When he personally seized

and jailed the children, and threatened to put them in foster care, Judge Eighmy

functioned not like a judge, but rather like a police officer or a prosecutor. Judges

do not normally perform the act of personally seizing children and jailing them

outside of court proceedings, without any record, order, or judgment, even in the

exercise of their contempt powers.

      Judge Eighmy later issued a Pick Up Order as to the children, acting in the

clear absence of jurisdiction. There was no proceeding before him that warranted

that judicial sanction. This was not a criminal or delinquency matter, and there

was no petition or motion before him to pick up the children. What was pending




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before him was the mother’s custody modification case. But Judge Eighmy lacked

UCCJEA subject matter jurisdiction and personal jurisdiction over the

modification case. The day after the children were picked up and confined, the

Missouri Supreme Court entered a writ of prohibition removing Judge Eighmy

from the case and vacating his orders.




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                               Standard of Review

      This Court reviews de novo the denial of a motion to dismiss based on

immunity. Hager v. Ark. Dep't of Health, 735 F.3d 1009, 1013 (8th Cir. 2013).

“Under Federal Rule of Civil Procedure 12(b)(6), the factual allegations in the

complaint are accepted as true and viewed most favorably to the plaintiff.” Hager,

735 F.3d at 1013 (citing Gross v. Weber, 186 F.3d 1089, 1090 (8th Cir.1999)).




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                                      Argument

       A judge is generally immune at common law from a suit for money

damages. See, e.g., Mireles, 502 U.S. at 10; Forrester v. White, 484 U.S. 219

(1988); Supreme Court of Va. v. Consumers Union of United States, Inc., 446 U.S.

719 (1980); Butz v. Economou, 438 U.S. 478 (1978); Stump v. Sparkman, 435 U.S.

349 (1978); Pierson v. Ray, 386 U.S. 547 (1967), relying on Bradley, 80 U.S. at

347.

       This Court has applied the Supreme Court’s judicial immunity doctrine.

See, e.g., Hamilton v. City of Hayti, 948 F.3d 921, 925 (8th Cir. 2020); Justice

Network Inc. v. Craighead Cnty., 931 F.3d 753, 760 (8th Cir. 2019); Schottel v.

Young, 687 F.3d 370, 373 (8th Cir. 2012); Brown v. Griesenauer, 970 F.2 921, 925

(8th Cir. 1992).

       The Supreme Court allows an official’s absolute immunity to extend no

further than necessary to protect the integrity of a decision-making process.

“Running through our cases, with fair consistency, is a ‘functional’ approach to

immunity questions other than those that have been decided by express

constitutional or statutory enactment. Under that approach, we examine the nature

of the functions with which a particular official or class of officials has [sic] been

lawfully entrusted, and we seek to evaluate the effect that exposure to particular

forms of liability would likely have on the appropriate exercise of those functions.”




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Forrester, 484 U.S. at 224; Harlow, 457 U.S. at 810 (protection of absolute

immunity “has extended no further than its justification would warrant”). Absolute

immunity should only attach to the extent functional necessity demands that it

must attach.

       There are two sets of circumstances where judicial immunity is overcome in

a civil action for money damages.

       First, a judge is not immune from liability for nonjudicial actions, i.e.,

actions not taken in the judge's judicial capacity. Mireles, 502 U.S. at 11-12,

relying on Forrester, 484 U.S. at 227-229; Stump, 435 U.S. at 360. Whether an act

by a judge is a “judicial” one relates to the nature of the act itself, i.e., whether it is

a function normally performed by a judge, and to the expectations of the parties,

i.e., whether they dealt with the judge in his judicial capacity. Stump, 435 U.S.

349, 362 (1978); Mireles, 502 U.S. at 11-12; see also Schottel, 687 F.3d at 373,

citing Birch v. Mazander, 678 F.2d 754, 756 (8th Cir. 1982).

       Second, a judge is not immune for actions, though judicial in nature, which

are taken in the clear absence of jurisdiction. Stump, at 356-357; Bradley, 80 U.S.

at 351. “[A]n action—taken in the very aid of the judge’s jurisdiction over a

matter before him—cannot be said to have been taken in the absence of

jurisdiction.” Mireles, 502 U.S. at 13. The distinction is whether the judge acted

in the “complete absence of all jurisdiction over the subject matter” as opposed to a




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mere “excess of jurisdiction.” Bradley, 80 U.S. at 351-52. The Fourth Circuit has

posed the question as: “When a judge exceeds authority, was he or she entirely

devoid of power or was a power lawfully possessed wrongly exercised?” King v.

Myers, 973 F.2d 354, 357 (4th Cir. 1992).

I.      Personally seizing and jailing children outside of a judicial proceeding is

        not a judicial function, and so Judge Eighmy lacks judicial immunity

        for his extreme and rare misconduct.

        There is no court record of Judge Eighmy’s first, personal seizure of the

children, and there was no judicial proceeding beforehand or afterward connected

to the seizure. The Court can take judicial notice of the contents of state court

files. See Greenman v. Jessen, 787 F.3d 882, 887 (8th Cir. 2015). In Missouri,

state court records are public records. Levy v. Ohl, 477 F.3d 988 (8th Cir. 2007)

(district court may take judicial notice of public state records).

        a. Judge Eighmy did not function as a judge in taking the children to

           jail

                  i. The analysis is functional, not motivational

        Judge Eighmy concedes that he was “personally taking the children to jail”

when he seized the children in the courthouse after court had ended session and

was done for the day. App. Br. 17-18. Faced with that concession, he then asks

this Court to look not to his functional act, but rather to his motivation, or “why he




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did so.” Id. at 18. But the Supreme Court has held that the relevant inquiry is

whether it is a function normally performed by the judge. Stump, 435 U.S. at 362;

Mireles, 502 U.S. at 13. There was no judicial nature or function as to Judge

Eighmy’s actions, they are not acts normally performed by judges, and he cites to

no case on point.

      In a somewhat similar case, the Fifth Circuit denied a judge immunity for

almost all of his acts when he privately sent an officer to a motorist’s home and

ordered him to appear in the judge’s courtroom for an ex parte proceeding the

morning after the motorist had honked at the judge during his evening commute.

Malina v. Gonzales, 994 F.2d 1121, 1124 (5th Cir. 1993). The judge then

prosecuted and adjudicated a contempt proceeding against the motorist, sentencing

him to five hours in jail. The Fifth Circuit held that:

             Peace officers, not judges, stop motorists on the highway, and
             prosecutors, not judges, set the judicial machinery in motion by
             charging someone with a crime. It is well settled that charging a
             defendant is a prosecutorial function, not a judicial function.
             Additionally, Judge Gonzales’ private use of an officer to unofficially
             summon Malina is not a judicial act, and is not closely related to a
             general judicial function. Consequently, Judge Gonzales can claim
             judicial immunity for neither the stop, the summons, nor the charging.
             Id., citing Lopez v. Vanderwater, 620 F.2d 1229, 1235 (7th Cir. 1980),
             cert. denied, 449 U.S. 1028 (1980).
The only acts for which Judge Gonzalez was found to be judicially immune were

issuing a written contempt citation and sentencing the motorist to five hours




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detention. Here, in contrast, Judge Eighmy issued no contempt citation or

sentence.

      Judge Eighmy used his authority as a judge to force the children to follow

him. A reasonable person in the children’s position would not have felt free to

disregard him and go about his business. Cf. United States v. Perdoma, 621 F.3d

745, 749 (8th Cir. 2010). Functioning like a police officer, Judge Eighmy “ma[d]e

a seizure by a show of authority and without the use of force.” Brendlin v.

California, 551 U.S. 249, 254 (2007).

            ii. Personally seizing children is not a judicial function

      A personal seizure by a judge is functionally not an act of a judicial nature.

Gregory v. Thompson, 500 F.2d 59, 64 (9th Cir. 1974) (no judicial immunity for

courtroom physical assault); Newman v. Indiana, 129 F.3d 937, 941 (7th Cir. 1997)

(no judicial immunity for hitting litigant with a hammer); Ammos v. Baldwin, 705

F.2d 1445, 1446-48 (5th Cir. 1983) (no judicial immunity for threatening to

physically harm a litigant). Other functionally non-normative conduct lacks

judicial immunity. See, e.g., Archie v. Lanier, 95 F.3d 438 (6th Cir. 1996) (no

judicial immunity for stalking and sexually assaulting a litigant); Lynch v. Johnson,

420 F.2d 818, 820-21 (6th Cir. 1970) (judge not protected by judicial immunity for

jailing a fellow board member when judge was acting in a legislative capacity);

Dawn v. Ciavarella, No. 3:10-CV-0797, 2010 WL 3122858 (M.D. Pa. Aug. 9,




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2010) (no immunity for “vast majority” of acts by two Pennsylvania judges who

received kickbacks for diverting juveniles into a privately-owned detention

facility). Judge Eighmy’s conduct was more like that of a New York judge who

ordered a courthouse coffee vendor “unlawfully dragoon[ed]” into custody “before

a star chamber proceeding” or “pseudo-official inquisition” because he did not like

the taste of his coffee. Zarcone v. Perry, 572 F.2d 52, 53, 55 (2d Cir. 1978). The

Second Circuit affirmed a punitive damages verdict against the judge, and did not

immunize him for his “abuse of official power.” Id. at 57.

           iii. There is a functional difference between performing a seizure

                and ordering a seizure

      It also matters that Judge Eighmy himself performed the seizure, because the

Supreme Court, this Court, and at least one other circuit court have noted the

functional distinction between a judge issuing a court order and personal conduct

by a judge. Compare Mireles, 502 U.S. at 10, 13 and Martin, 127 F.3d at 721-22,

723-24 (each granting immunity for a judicial order) with Gregory, 500 F.2d at 64-

65 (denying immunity for a judge’s personal use of force).

      In Mireles, the judge ordered officers “to forcibly and with excessive force

seize and bring [a public defender] into his courtroom,” and the officers then

violently seized the lawyer, called him “vulgar and offensive names,” and then

“without necessity, slammed” him through the doors and swinging gates into Judge




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Mireles’ courtroom. 502 U.S. at 10. Although Judge Mireles ordered the seizure

with excessive force, the Court found the issuance of a court order to be in the

nature of a judicial function. Mireles, 502 U.S. at 12-13. Judge Mireles had

immunity.

      In Martin, the judge ordered a bailiff to “put the cuffs on” a mother who

disrupted a courtroom proceeding with her repeated attempts to contact the judge

about her son’s traffic charge. 127 F.3d at 721. The bailiff then used excessive

force in seizing the mother. (There was no allegation in Martin that the judge

ordered the use of excessive force, but the act itself is not relevant, Mireles, 502

U.S. at 12-13, but rather the nature or function of the act is.) In Martin, the judge

was not a defendant, but the bailiff had quasi-judicial immunity because his actions

were “specifically ordered by the trial judge and related to the judicial function.”

127 F.3d at 721.

      In contrast, in Gregory, a judge personally forced a courtroom observer out

the door, threw him to the floor in the process, jumped on him, and began to beat

him. 500 F.3d at 61. The Ninth Circuit held that the judge lacked absolute

immunity because he performed an act similar to that normally performed by a

sheriff or bailiff. Id. at 65; see also Martin, 127 F.3d at 723 (Lay, J., dissenting)

(“[I]t is not the nature of the judicial function that a judge leave the bench and

engage [sic] a disruptive witness, party, or lawyer by physical force to achieve his




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or her order.”). If, however, the judge had held a proceeding and issued an order

from the bench, then he would have absolute immunity because holding a

proceeding and issuing an order are judicial functions. 500 F.3d at 64-65.

      Judge Eighmy argues that Rockett merely claims that there was not enough

judicial process as to the jailing of the children. App. Br. 32. That is not all that

Rockett claims, as reflected in this brief and the record below, but it is certainly

true and cuts in Rockett’s favor. Judge Eighmy did not hold any proceedings, or

issue any order. Instead he went rogue, and personally effected a seizure.

      b.     The seizure and jailing were not pursuant to a contempt

proceeding, finding, or order

             i. Judge Eighmy was not conducting a contempt hearing

      Judge Eighmy argues that his actions “relat[ed] to a general function

normally performed by a judge,” namely the contempt power. App. Br. 18;

Mireles, 502 U.S. at 12. Judge Eighmy characterizes his acts as a normal judicial

function in “[o]rdering the detention of children who refuse to comply with a

custody order.” App. Br. 17. He further analogizes his personal seizure to a

contempt hearing and finding. Id. at 18-19. But there was no hearing or finding.

There is nothing about Judge Eighmy’s actions that resembles what judges

normally or functionally do in adjudicating contempt under Missouri law. Judge

Eighmy’s conduct violated the Missouri Code of Judicial Conduct, which is why,




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as discussed infra in Section II(d), the Missouri Supreme Court later issued a writ

of prohibition and vacated his orders.

      In Missouri courts, contempt falls into four categories: civil and criminal,

direct and indirect. State ex Rel. Burrell-El v. Autrey, 752 S.W.2d 895, 897-98

(Mo. Ct. App. 1988).

             ii. There was no civil contempt proceeding

      Missouri courts have emphasized in the child custody context that contempt

is directed to parents, with the complaining parent able to grant relief to his or her

adversary. See, e.g., Schutter v. Seibold, 632 S.W.3d 820, 833 (Mo. Ct. App.

2021). Children cannot be held in contempt in a Missouri dissolution case. De

Rubio v. Herrera, 541 S.W.3d 564, 574 (Mo. Ct. App. 2017) (“In a dissolution

case, the child is not a party, the court does not exercise jurisdiction directly over

the child, but over the parents of the child, and the child is not subject to sanction

for non-compliance with any judgment.”). Since the children were not before

Judge Eighmy as parties, then they could not be in civil contempt. Sophian Plaza

Ass'n v. City of Kansas City, 584 S.W.3d 784, 788 (Mo. 2019). Despite Judge

Eighmy’s contention otherwise, App. Br. 19, no court has ever held that the

UCCJEA generally, and its provision at RSMo. 452.400.3 specifically, authorizes

incarcerating children as a remedy for parental noncompliance with a custody

determination. Id. Further, the UCCJEA makes clear that children are not litigants




                                           26
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in custody cases. RSMo. 452.705(12); cf. Missouri Rule 110.04(a)(20) (juveniles

are parties in juvenile proceedings).

         Judge Eighmy also ignores that civil contempt normally requires a new

action or motion to enforce a judgment. State ex rel. Cullen v. Harrell, 567

S.W.3d 633, 642 (Mo. 2019). Although there was a settlement, there was not yet

any judgment to enforce. Rather, Judge Eighmy had directed the mother’s counsel

to draft a judgment by October 31st. App. 17; R. Doc. 1, at 11. A civil contempt

action allows a party to request that the court require a disobedient opposing party

to comply with a court judgment or to enforce a rule that has been violated. 2A

Mo. Prac., Methods of Prac.: Litigation Guide sec. 37.4 (4th ed.). A verified

motion for contempt is subject to the requirements of RSMo. 452.310.1; Odom v.

Langston, 358 Mo. 241, 213 S.W.2d 948, 951 (Mo. banc 1948). Even in cases

where third parties were confined for contempt and a judge’s immunity was

affirmed, there was a judicial proceeding and an order holding the plaintiff in

contempt. McAlester v. Brown, 469 F.2d 1280, 1282 (1972), citing Stump, 435

U.S. at 361. None of that happened here, so Judge Eighmy’s conduct was nothing

functionally like hearing a civil contempt motion or entering an order against a

party.

         Both Missouri and California courts have long recognized that parents may

have trouble trying to force teenage and even preteen children to do things that




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they do not wish to do in the context of disputed custody arrangements. See, e.g.,

D.R.P. v. M.P.P., 484 S.W.3d 822, 829 (Mo. App. 2016), citing Shanks v. Shanks,

603 S.W.2d 46, 48 (Mo. App. 1980); compare Coursey v. Superior Ct., 194 Cal.

App. 3d 147, 154–56, 239 Cal. Rptr. 365, 369–70 (1987). We have been unable to

find cases from any court approving the seizure and jailing of children for civil

contempt to compel their acquiescence in custody disputes between their parents.

            iii. There was no criminal contempt proceeding

      Second, Judge Eighmy cannot colorably argue in the alternative that he was

punishing a criminal contempt. A direct criminal contempt is one that occurs in

the view and presence of the court or so nearby as to interrupt the proceedings.

State ex Rel. Chassaing v. Mummert, 887 S.W.2d 573, 577 (Mo. 1994) (emphasis

added). An indirect criminal contempt is an act outside the court tending to

degrade or make impotent the authority of the court or to impede or embarrass the

administration of justice. Curtis v. Tozer, 374 S.W.2d 557, 568 (Mo. Ct. App.

1964). In direct contempt cases the court is entitled to act summarily, while in

cases of indirect contempt the alleged contemnor is entitled to procedural rights of

notice and hearing. McMilian v. Rennau, 619 S.W.2d 848, 850–51 (Mo. Ct. App.

1981).

      If the children had directly disturbed a judicial proceeding, this would be a

different case. Instead, the children made a First Amendment-protected, out-of-




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court statement to Judge Eighmy after he approached them in the lobby, after

judicial proceedings had ended. App. 18; R. Doc. 1, at 12. Judge Eighmy’s

actions were not functionally akin to a direct criminal contempt hearing or a

finding of contempt. Cf. Martin, 127 F.3d at 721. Similarly, out of court

statements are not indirect criminal contempt unless they imminently threaten the

administration of justice. Cf. RSMo. 476.110; Craig v. Harney, 331 U.S. 367, 376

(1947). Statements about pending cases by non-lawyers are protected by the First

Amendment under a “clear and present danger of a substantive evil” standard.

Smith v. Pace, 313 S.W.3d 124, 134 (Mo. banc 2010). The children’s statements

do not remotely meet that high burden.

      Judge Eighmy’s citations to generic cases in which a party was properly held

in contempt after another party filed a contempt motion and the court conducted a

hearing are thus inapposite. See, e.g., Jakes, Ltd. v. City of Coates, 356 F.3d 896,

901 (8th Cir. 2004) (reversing criminal contempt sanction for failure to follow

procedural protections); Liles v. Regan, 804 F.2d 493, 495 (8th Cir. 1986). In

short, Judge Eighmy’s personal conduct was obviously not in the nature or

function of holding a criminal contempt proceeding.

      Third, Judge Eighmy cites to various Missouri statutes and cases that go to

his generic contempt power as a judge. But those do not provide his conduct with

the judicial nature and function that he asserts. Judge Eighmy cites to Harrell, 567




                                         29
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S.W.3d at 639 and Schutter, 632 S.W.3d at 832 (Mo. Ct. App. 2021). The former

concerns a motion to compel against a husband who did not sign paperwork in a

divorce necessary to effectuate its judgment. The latter addressed a family access

motion by a father against a mother where the mother interfered with the father’s

custody or access without good cause. Both involve judicial proceedings and a

resulting judgment or order. Neither is apposite here.

            iv. There was no child welfare or juvenile proceeding

      Fourth, Judge Eighmy argues that he was acting for the benefit of the

children. Although the UCCJEA permits child welfare orders, that is where a

parent (or a third party) files a motion asserting that the child will suffer a serious

imminent physical harm or removal from this state. RSMo. 452.885. The harm

issue was never before Judge Eighmy related to any judicial process, and as to

removal Judge Eighmy himself had earlier encouraged the mother to take the

children from Missouri to Utah and register a judgment there.

      Fifth, Judge Eighmy implies that he found that the children lacked proper

care, custody, or support under RSMo. 211.131 and issued a juvenile order under

RSMo. 211.401.1. But this was not a juvenile division case, no such petition was

before him, and Judge Eighmy did not have access to the resources of the juvenile

court in sitting as a juvenile judge. See De Rubio, 541 S.W.3d at 574, n. 10




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(differentiating divorce court and juvenile court functions, resources, and

jurisdiction).

       Sixth, Judge Eighmy argues that Rockett’s claims merely get to the

informality and lack of rectitude of his conduct. App. Br. 22, 24; compare Stump,

435 U.S. at 362-63. But Judge Eighmy’s liability for his seizure is based on a

functional analysis. 5 There was nothing judicial in function as to Judge Eighmy’s

conduct. It was “beyond the pale of anything that could sensibly be called a

judicial act.” Stump, 435 U.S. at 365 (Stewart, J., dissenting).

        c.   The seizure did not arise directly and immediately out of the

children approaching Judge Eighmy for judicial relief

       The Fifth Circuit has a four-factor test that, when taken together, lead to the

conclusion that a judge is acting in his judicial jurisdiction: “(1) the precise act

complained of, use of the contempt power, is a normal judicial function; (2) the

events involved occurred in the judge's chambers; (3) the controversy centered

around a case then pending before the judge; and (4) the confrontation arose



5
 Judge Eighmy’s previous representation of the children’s grandmother in her
divorce, then functionally adverse to Rockett; his threats to put the children into
foster care despite no case or controversy then pending before him where that
would be a conceivable remedy; and his unusual advocacy in the mother’s interest
by advising her to register the judgment in the Utah courts, all combine to suggest
serious conflicts of interest, ab initio due process flaws, and “grave procedural
errors,” Stump, 435 U.S. at 359; Bradley, 80 U.S. 357.



                                           31
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directly and immediately out of a visit to the judge in his official capacity.”

McAlester, 469 F.2d at 1282. Only the third factor is potentially present here.

The Supreme Court distinguishes between judicial acts and other functions that

judges may on occasion be assigned by law to perform. Forrester, 482 U.S. at

227.

       Judge Eighmy heard the parents’ custody settlement, and he instructed the

mother’s attorney to draft a judgment. But there was no petition or motion pending

before him when he approached the children in the courthouse lobby after hours.

Cf. Stump, 435 U.S. at 362; McAlester, 469 F.2d at 1282. While he did have a

personal and professional falling out with the children’s grandmother, cf.

Woodworth v. Hulshof, 891 F.3d 1083, 1092 (8th Cir. 2018), nevertheless he was

not conducting a judicial proceeding or issuing a court order. Judicial immunity

requires that judges possess the authority to perform actions relating to a matter

before them. Mireles, 502 U.S. at 13 (emphasis added). Here, there was nothing

before Judge Eighmy. Cf. Stump, 435 U.S. at 351-52 (judicial order related to

sterilization petition that was before state court judge); Rogers v. Gaston, No. 6:19-

03346-CV-RK, 2020 WL 1694796 at * 8 (W.D. Mo. Apr. 7, 2020) (judicial order




                                          32
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related to custody proceeding before the state court judge); cf. Malina, 994 F.3d at

1128 (no contempt case pending before judge).

         The seizure did not arise out of the children approaching Judge Eighmy for

judicial relief; indeed, the children did not approach the judge at all. Rather, the

judge approached the children outside of a judicial proceeding and acted like a

police officer, or perhaps a prosecutor. See Lopez, 620 F.2d at 1236 (denying

judicial immunity for a judge prosecuting trespass). The boy K.R.’s statement to

Judge Eighmy—“I don’t know how you have a right to lock us up. We have done

nothing wrong” (emphasis added)—indicates that he understood that the judge was

functioning as a jailer.

II.      Judge Eighmy issued his Pick Up Order in the clear absence of

         jurisdiction, not in excess of jurisdiction

         Months later in August 2020, with no petition or motion before him as to the

children, Judge Eighmy issued a Pick Up Order for the children, by then residents

at their family farm in Louisiana during the Covid-19 quarantine. He did so in the

clear absence of jurisdiction. Stump, 687 U.S. at 356.

         a. The UCCJEA statute and case law are jurisdictional and

            circumscribe Judge Eighmy’s authority to issue the Pick Up Order

         For the purposes of immunity analysis, subject matter jurisdiction is given a

broad construction. Stump, 435 U.S. at 356-57. But there are doctrinal limits, and




                                           33
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absolute immunity extends no further than its justification would warrant.

Forrester, 484 U.S. at 224; Harlow, 457 U.S. at 810. In states such as Missouri

where associate circuit judges have general jurisdiction, the Bradley hypothetical

example of a probate judge presiding over a criminal case is impossible. 80 U.S. at

352.

       Missouri courts recognize two kinds of jurisdiction: subject matter and

personal, each based upon constitutional principles. Personal jurisdiction is, for

the most part, a matter of federal constitutional law under the Due Process Clause

of the Fourteenth Amendment. J.C.W. v. Wyciskalla, 275 S.W.3d 249, 252 (Mo.

2009).

       Subject matter jurisdiction concerns “the classes of cases . . . falling within a

court's adjudicatory authority.” Kontrick v. Ryan, 540 U.S. 443, 455 (2004).

Subject matter jurisdiction concerns only the “power to adjudicate” a case. Steel

Co. v. Citizens for a Better Env't, 523 U.S. 83, 89 (1998). Subject matter

jurisdiction is governed by article V of the Missouri Constitution. Wyciskalla, 275

S.W.3d at 252, citing In re Marriage of Hendrix, 183 S.W.3d 582 (Mo. banc

2006). Missouri associate circuit judges may hear and determine all cases, civil or

criminal and all other matters as now provided by law for magistrate or probate

judges and may be assigned such additional cases or classes of cases as may be

provided by law. Mo. Const. Art. V, § 17; RSMo 478.220. Missouri courts have




                                           34
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replaced the word “jurisdiction” with “authority” where courts have used the term

“jurisdiction” in cases that “do not question the court's subject matter or personal

jurisdiction and really go to the court's authority to render a particular judgment in

a particular case.” Wyciskalla, 275 S.W.3d at 254.

      Supreme Court precedent holds that a judge lacks immunity for an order

issued in the clear absence of jurisdiction. Mireles, 502 U.S. at 13, citing Bradley,

80 U.S. at 351; Stump, 435 U.S. at 358. For a court of general jurisdiction, the

jurisdictional grant is “indeed … broad.” Id. Judge Eighmy argues that in light of

the Missouri Constitution’s provision of general subject matter jurisdiction to his

office, then he is immune and no further analysis in required. App. Br. 31-32.

      He ignores that the Supreme Court in Stump held—in reviewing subject

matter jurisdiction—that it was “[m]ore significant that there was no [state] statute

and no case law … prohibiting a circuit court, a court of general jurisdiction, from

considering a petition of the type presented.” 435 U.S. at 358. For example, while

Judge Eighmy has general subject matter jurisdiction like the Indiana judge who

heard the sterilization petition in Stump, the Missouri Supreme Court has explicitly

prohibited Missouri courts from considering a petition for sterilization. In Interest

of M. K. R, 515 S.W.2d 467, 470-71 (Mo. 1974) (“Jurisdiction of the juvenile court

to exercise the awesome power of [sterilization] may not be inferred … [s]uch




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jurisdiction may be conferred only by specific statute.”). Thus, there are limits to

general subject matter jurisdiction.

      This Court has cited approvingly to a case where a general jurisdiction judge

was found to have acted in the clear absence of jurisdiction because the judge

lacked statutory authority. See Duba v. McIntyre, 501 F.2d 590, 592 (8th Cir.

1974), citing Wade v. Bethesda Hospital, 337 F.Supp. 671, 673-74 (S.D. Ohio

1971) (judge acted in clear absence of jurisdiction for ordering sterilization without

statutory authority).

      The UCCJEA is a jurisdictional statute. Among its objectives is the

avoidance of jurisdictional competition and conflict. Ketteman v. Ketteman, 347

S.W.3d 647 at n.3 (Mo. Ct. App. W.D. 2011). The UCCJEA limits the jurisdiction

or authority of Missouri circuit courts to hear certain types of custody modification

petitions, unlike the Indiana judge in Stump. Compare id. at 358 with Ketteman,

347 S.W.3d at 653 (discussing UCCJEA subject matter jurisdiction). The drafters

of the UCCJEA intended for its statutory jurisdiction to be subject matter

jurisdiction. See UCCJEA § 201, cmt., 9-IA U.L.A. 673 (1999) (noting that

“jurisdiction to make a child custody determination is subject matter jurisdiction”).

So did Congress. See 28 U.S.C. § 1738A.

      In Missouri, the UCCJEA provides “the exclusive jurisdictional basis for

making a child custody determination by a court of this state.” RSMo. 452.740.2




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and .745; In re Interest of Arnold, 532 S.W.3d 712, 717 (Mo. Ct. App. 2017);

Ketteman, 347 S.W.3d at 653 (“[T]he provisions of the [UCCJEA] must be met for

Missouri courts to have subject matter jurisdiction over a child custody

proceeding.”) (emphasis added). The UCCJEA prioritizes the question of

jurisdiction. RSMo. 452.845. Missouri courts “should make an initial

determination of their statutory authority to proceed under the [UCCJEA] by

express findings before proceeding to the substantive issue of custody.” Ketteman,

347 S.W.3d at 655 (emphasis added). “The circuit court's statutory or common

law authority to grant relief in a particular case differs from the circuit court's

constitutionally granted subject matter and personal jurisdiction. In this respect,

the [UCCJEA] jurisdiction provisions inform a court whether it lacks authority to

modify custody because of the statutory limitations.” Hightower v. Myers, 304

S.W.3d 727, 733 (Mo. 2010) (emphasis added).

      Unlike the statute analyzed in Wyciskalla, the UCCJEA also incorporates

principles of personal jurisdiction and comity as seeming factors in its

jurisdictional provisions. Id. at 733-34. The Missouri Supreme Court has further

observed that “the concept of jurisdiction as applied to the [UCCJEA] has




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confused and confounded both courts and scholars,” but declined to undertake

further analysis of this issue. Id. at 734. 6

       The UCCJEA provides that Missouri courts shall not exercise jurisdiction

“if, at the time of the commencement of the proceeding, a proceeding concerning

the custody of the child had been previously commenced in a court of another state

having jurisdiction” in conformity with the UCCJEA, “unless the proceeding has

been terminated.” RSMo. 452.765.1. That was also not the case here, in that the

children had resided in California for nine years with their father, and the mother’s

California custody case was still pending. Burgett v. Thomas, 509 S.W.3d 840,

844 (Mo. Ct. App. 2017).

       The Missouri Supreme Court has construed the home state provisions of the

UCCJEA to proscribe the impractical result of bifurcation or transfer of a custody

case midway through litigation. That is because the intent of the UCCJEA is to

avoid jurisdictional competition and conflict. Blanchette, 476 S.W.3d at 280,

citing Al–Hawarey v. Al–Hawarey, 388 S.W.3d 237, 245 (Mo. App. 2012).

       This analysis is in accord with other statutory limitations on jurisdiction. In

construing Missouri’s long-arm jurisdiction statute, the Missouri Court of Appeals

has held, in a post-Wyciskalla opinion, that “the legislature most likely did not


6
 The Hightower Court reviewed both the UCCJEA and a predecessor statute, the
UCCJA, citing Barbara Ann Atwood, Child Custody Jurisdiction and
Territoriality, 52 Ohio St. L.J. 369 (1991).


                                            38
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intend ‘to confer jurisdiction in all cases that the constitution would permit, but

that the specific categories of cases over which the legislature did extend

jurisdiction should be construed to include all the cases those categories rationally

could be understood to include to the extent that due process would permit.’”

Noble v. Shawnee Gun Shop, Inc., 316 S.W.3d 364, 370 (Mo. Ct. App. 2010)

(emphasis in original), citing 1 Robert C. Casad & William B. Richman,

Jurisdiction in Civil Actions § 4-l[l][b] (3d ed. 2004). “A contrary interpretation

would effectively ignore the language of the [] statute.” Id.

       Here, Judge Eighmy’s assumption of UCCJEA jurisdiction or authority

away from the California court hearing the mother’s original modification case was

made in the clear absence of jurisdiction and authority. Compare RSMo. 452.745,

.750, .800, and .865. His record as to his alleged conversation with Judge Wayser

in Los Angeles failed to establish he had jurisdiction.7 RSMo. 452.730. “It

follows that a ruling of the court's authority that is merely conclusory or a ruling

that just assumes that the court has authority, but is tacit as to the factual basis for



7
 A statute such as the UCCJEA that conditions access to the courts may implicate
Fourteenth Amendment due process principles. Wyciskalla, 275 S.W.3d at 255.
Courts have not addressed head-on whether or not the failure to hold an evidentiary
hearing on UCCJEA jurisdiction constitutes a Fourteenth Amendment due process
violation, but have suggested that given the integrity of the family unit, that the
Due Process Clause may be implicated. See, e.g., In re Interests of A.A.-F., 444
P.3d 938, 955 (Kan. 2019); In re Jaden D., D054873 (Cal. Ct. App. Nov. 20,
2009).


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that adjudication, does not meet the objectives of the [UCCJEA].” Ketteman, 347

S.W.3d at 655. Thus, Judge Eighmy lacked UCCJEA subject matter jurisdiction,

or authority, to issue the Pick Up Order. Al–Hawarey, 388 S.W.3d at 242-44. He

certainly did not have jurisdiction to order children picked up in Louisiana.

       Subject matter jurisdiction cannot be waived or conferred by consent of the

parties. Hightower, 304 S.W.3d at 733. It can be raised “at any time by any party

or court, even in a collateral or subsequent proceeding.” Id. To the extent Missouri

permits waiver of UCCJEA authority or jurisdiction, Rockett timely preserved his

jurisdictional objection. Schaeffer v. Schaeffer, 471 S.W.3d 367, 371-72 (Mo. Ct.

App. S.D. 2015); Hightower, 304 S.W.3d at 733.

       Many of the 49 states which have adopted the UCCJEA hold that the statute

limits the subject matter jurisdiction of the custody court.8 “Of the states that have

considered the jurisdictional issue, some refer to the UCCJEA as a subject-matter-

jurisdiction statute, while others do not. The issue is not settled.” In the Interest of



8
  See, e.g., H.T. v. Cleburne County Dept. of Human Resources, 163 So.3d 1054,
1061 (Ala. Civ. App. 2014); Stauffer v. Temperle, 794 N.W.2d 317, 321 (Iowa Ct.
App. 2010); Officer v. Blankenship, 555 S.W.3d 449 (Ky. Ct. App. 2018);
Schroeder v. Schroeder, 658 N.W.2d 909 (Minn. Ct. App. 2003); Friedman v.
Eighth Judicial Dist. Court of State, ex rel. County of Clark, 264 P.3d 1161 (Nev.
2011); In re Guardianship of K.B., 233 A.3d 328 (2019); Gharachorloo v.
Akhavan, 67 A.D.3d 1013, 889 N.Y.S.2d 256 (N.Y. App. Div. 2009); Harshberger
v. Harshberger, 724 N.W.2d 148 (N.D. 2006); Rosen v. Celebrezze, 883 N.E.2d
420 (2008) (per curiam); Rosen v. Rosen, 664 S.E.2d 743 (W.Va. 2008);
Harignordoquy v. Barlow, 313 P.3d 1265 (Wyo. 2013).


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D.S., 602 S.W.3d 504, 517-518 (Tex. 2020) (footnotes listing cases omitted).

Outside of the context of judicial immunity, the issue is almost never outcome-

determinative. In re J.W., 53 Cal.App.5th 347, 365 (Cal. Ct. App. 2020).

      It would be an absurd and inconsistent result if judges lacking UCCJEA

subject matter jurisdiction had judicial immunity from Section 1983 claims in

some states, but not in other states, merely because of how their state supreme

court had interpreted the jurisdictional effect of a uniform statute. To be sure,

Section 1983 law does look to state law in other contexts, such as whether an

official is a policymaker for purposes of Monell liability. Cf. Thompson v. Shock,

852 F.3d 786, 793 (8th Cir. 2017). But it would defeat the purpose of a uniform

subject matter jurisdictional statute if it were to be applied non-uniformly in

federal court. See also 28 U.S.C. § 1738A.

      b. Judge Eighmy lacked personal jurisdiction

      A Missouri court must also have personal jurisdiction. Under the UCCJEA,

personal jurisdiction generally attaches at the commencement of a proceeding.

Blanchette, 476 S.W.3d at 280. Here, that would be in 2013 when the mother filed

a modification in California, not in 2018 when she filed a separate case in

Missouri. Id. The children had not been residents in Missouri for nine years

before the custody modification case was commenced by their mother, and were

not residents when Judge Eighmy issued his Pick Up Order. The UCCJEA allows




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a safe harbor for parties to appear without waiving personal jurisdiction. RSMo.

452.725. A timely-raised defense of lack of personal jurisdiction means the Court

lacks the power to affect a person’s rights or interests. In re A.R.B., 586 S.W.3d

846, 859 (Mo. Ct. App. W.D. 2019). As such Judge Eighmy lacked personal

jurisdiction over Rockett and the children under the UCCJEA, RSMo. 452.745,

regardless of the 2009 divorce decree or the 2019 settlement, because the personal

jurisdiction analysis begins and ends at the time of filing. See Patel v. Patel, 380

S.W.3d 625, 631 (Mo. Ct. App. 2012), overruled on other grounds by Geiler v.

Liberty Ins. Corp., 621 S.W.3d 536, 544 (Mo. Ct. App. W.D. 2021); see also

Nestle v. Johns, 452 S.W.3d 753 (Mo. Ct. App. E.D. 2015). In other family law

contexts such as spousal support, the Supreme Court has held that lack of personal

jurisdiction defeats jurisdiction. See, e.g., Estin v. Estin, 334 U.S. 541 (1948);

Vanderbilt v. Vanderbilt, 354 U.S. 416 (1957).

      Circuits are split on whether the lack of personal jurisdiction defeats judicial

immunity, but a minority of circuits, including this Court, have suggested that a

lack of personal jurisdiction does exactly that. See, e. g., Duba, 501 F.2d at 592

(“the judge must have both jurisdiction over the person and subject matter if he is

to be immune from suit”) (emphasis added); Harley v. Oliver, 539 F.2d 1143 (8th

Cir. 1976); Ryan v. Scoggin, 245 F.2d 54, 58 (10th Cir. 1957) (judge is immune for

order or judgment when “court has jurisdiction of the subject matter and of the




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parties”). Admittedly other circuits do not agree. See, e.g., Stern v. Mascio, 262

F.3d 600, 607 (6th Cir. 2001); Dykes v. Hosemann, 743 F.2d 1488 (11th Cir.

1984); Rankin v. Howard, 633 F.2d 844 (9th Cir. 1980), overruled in part by

Ashelman v. Pope, 793 F.2d 1072, 1077 (9th Cir. 1986); Holloway v. Walker, 765

F.2d 517, 522 (5th Cir. 1985); Green v. Maraio, 722 F.2d 1013, 1017 (2d Cir.

1983).

      The Supreme Court has not addressed personal jurisdiction in its judicial

immunity cases because that was not an issue before it. Bradley focuses on subject

matter jurisdiction, extending “the same principle of exemption from liability

which obtains for errors committed in the ordinary prosecution of a suit where

there is jurisdiction of both subject and person.” 80 U.S. at 352 (emphasis added).

In Stump, the mother and child undisputedly lived in Indiana; the issue was subject

matter jurisdiction over sterilization petitions. In Mireles, the public defender

plaintiff worked within the Los Angeles courthouse where Judge Mireles ordered

him seized.

      Nor has this Court had occasion to address specifically the personal

jurisdiction requirement. See, e.g., Schottel, 687 F.3d 373; Birch v. Mazander, 678

F.2d 754 (8th Cir. 1982); White v. Bloom, 621 F.2d 276, 279 (8th Cir. 1980); see

also Williams v. Williams, 532 F.2d 120, 121-22 (8th Cir. 1976); Wiggins v. Hess,

531 F.2d 920 (8th Cir. 1976). Judge Eighmy’s cases do not consider personal




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jurisdiction, but rather merely cite to Mireles’s requirement of the “complete

absence of jurisdiction.” The Hamilton plaintiff lived in the City of Hayti, was

applying for public housing there, and was subject to an arrest warrant from a

defendant Hayti municipal judge. 948 F.3d at 928. The Justice Network plaintiff

provided probation services to the defendant judges pursuant to contract. 931 F.3d

at 762. And Schottel was an attorney practicing before the defendant judge he

sued. 687 F.3d at 374.

      Judge Eighmy argues that Bradley requires only subject matter jurisdiction,

but that is not clear given the above holdings from this Court and the Tenth Circuit.

Further, some of the policy arguments raised by circuits which require only subject

matter jurisdiction are distinguishable in the context of the UCCJEA. A

determination of jurisdiction or authority under the UCCJEA requires preliminary,

threshold application of statutory factors—that is, findings of law—and not a court

to personally verify facts firsthand. Cf. Dykes, 776 F.2d at 949 (comparing

jurisdictional determinations that generally require only statutory interpretation, as

opposed to first-hand verification of facts).

      It was clear well before Judge Eighmy issued his Pick Up Order that he

acted in the absence of personal jurisdiction.




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      c. Judge Eighmy issued the Pick Up Order in his enforcement

         capacity for a delinquency case or issue that was not before him

      There is another distinction from the Indiana judge in Stump, before whom a

petition for sterilization was pending. 435 U.S. at 358. Here, there was no motion

or petition pending in the case or issues before Judge Eighmy that warranted a Pick

Up Order for the children. Further, he issued the order on his own initiative and in

an enforcement capacity.

      First, Pick Up Orders are authorized by Missouri law only as to delinquency

cases. RSMo. 211.121; see also Missouri Law Enforcement Juvenile Justice

Guidelines and Recommended Practices (Feb. 2019) at 26, at

https://dps.mo.gov/dir/programs/jj/documents/mija-law-enforcement-

guidelines.pdf (“The order by the court to take a juvenile into custody may be in

the form of a “capias”, “pick-up order”, “juvenile warrant”, or other written order

by the court.”). Here, Judge Eighmy was not sitting as a juvenile court judge

hearing a delinquency case. Even if he was, Missouri is unique among states in

that the enforcement aspects of juvenile law are retained by the circuit courts, and

not the executive branch. See generally RSMo. Chapter 211, et seq. In Missouri,

juvenile officers are court officers. RSMo. 211.351. That means the judicial

branch enforces its own delinquency orders.




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       This Court has recognized as much in denying judicial immunity to juvenile

officers in the enforcement context of invalid orders. Heartland Academy

Community Church v. Waddle, 427 F.3d 525, 531 (8th Cir. 2005), relying on

Supreme Court of Va., 446 U.S. at 736 (no judicial immunity for judges acting in

their enforcement capacities).9

       With no delinquency issue or case before Judge Eighmy, any Pick Up Order

would not relate to any matter before him. See Mireles, 502 U.S. at 13; Stump, 435

U.S. at 351; Malina, 994 F.3d at 1128; see also McAlester, 469 F.2d at 1282 (lack

of third factor). Judge Eighmy may have general jurisdiction; that does not mean

he has jurisdiction to impose juvenile delinquency penalties in hearing a custody

case with no delinquency matter before him, any more than he could impose

probate remedies in hearing a criminal case. Cf. Bradley, 80 U.S. at 351. This was

not an excess of jurisdiction, because it was not a mere unauthorized exercise of

his general power with respect to a particular case otherwise properly before him.

Pogue v. Swink, 284 S.W.2d 868, 873 (Mo. 1955). Rather, there was no such

particular case before him.



9
 The Pick Up Order impinged upon the children’s due process liberty interest in
not being separated from their father, without prior notice to him in Louisiana and
without exigent circumstances. Morrell v. Mock, 270 F.3d 1090, 1100 (7th Cir.
2001) (discussing limits of rendering a state’s exercise of UCCJA jurisdiction over
non-residents and the liberty interest in the parent-child relationship).



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      Second, courts have uniformly interpreted the UCCJEA not to authorize

Pick Up Orders as to children, merely child custody orders as to their parents. See,

e.g., Schutter, 632 S.W.3d at 833 (reviewing jurisdictional limits of UCCJEA

orders); Arkansas Department of Human Services v. Cox, 349 Ark. 205, 216 (Ark.

2002) (“The order at issue is not a ‘child-custody determination’ that may be

enforced pursuant to the UCCJEA. It is admitted to be a ‘Take-into-Custody’ order

... [it] is not enforceable under the UCCJEA or otherwise.”). Nor was the Pick Up

Order a warrant issued under RSMo. 452.885 ordering the seizure of an out-of-

state child to protect him from imminent physical harm. Cf. Katz v. Murphy, 165

P.3d 649, 657 (Alaska 2007). Nor was the Pick Up Order the type of safety order

contemplated by RSMo. 452.785.6.

      Third, there was no issue or proceeding before Judge Eighmy related to the

safety of the children. Compare RSMo 452.785.6 and RSMo. 452.885.1. This

was not just a failure to provide notice and an opportunity to be heard. The

issuance of the Order was not a mere “grave procedural error[].” Stump, 435 U.S.

at 359. Rather, as the district court noted as to the Pick Up Order, “there were no

judicial proceedings pending that would allow for this judicial sanction.” Add. 4.

Judge Eighmy’s jurisdiction is limited to “hear[ing] and determin[ing] … cases.”

Mo. Const. Art. V § 17. With no such case before him, there is no jurisdiction.




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      Fourth, if there are no limits whatsoever to a judge’s “dangerously broad”

immunity, Stump, 435 U.S. at n.5, then the policy rationales undergirding Bradley

and affirmed again in Pierson, 386 U.S. at 554, have no force or value. See also

Stump, 435 U.S. at 370 (Powell, J., dissenting). The factors that support immunity

for judicial acts are not implicated by Judge Eighmy’s conduct in issuing the Pick

Up Order. Pierson, 386 U.S. at 554. With no delinquency case pending before

Judge Eighmy, then the policy behind judicial immunity—encouragement of

“fearless decision making” free from the intimidation of vexatious litigation—has

no bearing on Judge Eighmy’s conduct. Immunity extends only to judicial

decision making function as to the merits of a case. Martin, 127 F.3d at 722.

      Conversely, the dangers implicit in his conduct—overreaching from the

joinder of executive and judicial powers unique to Missouri’s juvenile court

system—have been apparent since the Federalist Papers. See The Federalist No.

47, at 303 (James Madison) (“Were the power of judging joined ... to the executive

power, the judge might behave with all the violence of an oppressor.” (quoting

Montesquieu)).




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      d. This is a “rare” case where the underlying judgment is void for due

         process violations, which is why the Missouri Supreme Court entered

         a writ of prohibition against Judge Eighmy

      Typically, collateral attacks on final judgments are impermissible under

Missouri law, but this rule does not apply when the original judgment was void.

Here, that would be the Judgment of Modification dated October 31, 2019, under

which the Pick Up Order was issued. See Blanchette, 476 S.W.3d at 278, citing La

Presto v. La Presto, 285 S.W.2d 568, 570 (Mo. 1955). Missouri was not the home

state of either the father or the children. RSMo. 452.740.1(1); Nestle v. Johns, 452

S.W.3d 753, 757 (Mo. Ct. App. 2015).

      A judgment is void if the issuing court “did not have jurisdiction over the

parties, over the subject matter, or in some rare instances where due process rights

have been violated.” Id., citing In re Expungement of Arrest Records Related to

Brown v. State, 226 S.W.3d 147, 150 (Mo. banc 2007) (emphases added); see also

1 A. Freeman, Judgments (5th Ed. 1925) § 322, pp. 643–44. The Missouri Court

of Appeals has voided judgments in juvenile cases for violations of due process

rights. S.L.C. v. M.M., No. WD84549 at *7 (Mo. Ct. App. W.D. Feb. 15, 2022).

      The Missouri Supreme Court issued a writ of prohibition on the first full day

of the children’s confinement, stripping Judge Eighmy of jurisdiction and vacating

his orders. App. 44; R. Doc. 1-4, at 1-2; App. 142-52; R. Doc. 20-1, at 1-11. A




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writ of prohibition is an extraordinary remedy that should lie only in cases of

extreme necessity. State ex Rel. Ferrara v. Neill, 165 S.W.3d 539, 541 (Mo. Ct.

App. 2005). Prohibition will lie where there is a usurpation of judicial power

because the trial court lacks either personal or subject matter jurisdiction. State ex

rel. S.M.H. v. Goldman, 140 S.W.3d 280, 283 (Mo. Ct. App. E.D. 2004) (emphasis

added). Admittedly, the Missouri Supreme Court did not enter the writ until

November 19, 2020, a day after the initial second seizure of the children. But the

entry of the writ suggests another jurisdictional defect. Blanchette, 476 S.W.3d at

278-79.

      e. The Union Parish civil commitment warrant does not break the

          chain of causation

      In his Statement of the Case, Judge Eighmy references a separate civil

commitment warrant issued by Union Parish. Eighmy brief at 9-10. He does not

further argue the significance of that issue in his briefing, but he did so in the

district court below. App. 56; R. Doc. 15 at 6; App. 175; R. Doc. 27, at 23.

Although points not meaningfully argued in an opening brief are waived, Ahlberg

v. Chrysler Corp., 481 F.3d 630, 634 (8th Cir. 2007), nevertheless, in an excess of

caution, Rockett will address that issue.

      The suggestion that Union Parish’s warrant for civil commitment caused the

children’s second seizure is an “intervening cause” argument as to the chain of




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causation holds no water. Such an argument does not apply to a § 1983 claims

where the underlying basis for the warrant application was constitutionally infirm.

As the Union Parish “Ruling” indicates, the children’s mother petitioned that court

for a civil warrant for the return of the children solely on the basis of Judge

Eighmy’s Pick Up Order. App. 188; R. Doc. 1-5, at 1. Whatever process occurred

in Union Parish does not immunize Judge Eighmy. Compare Hartman v. Moore,

547 U.S. 256 (2006) (plaintiff can introduce evidence to rebut presumption of

intervening cause) with Briggs v. Malley, 748 F.2d 715 (1st Cir. 1984), judgment

aff’d and remanded, 475 U.S 335 (1986) (examining “but for” causation in context

of warrant application).

                                     Conclusion

      Judge Eighmy lacks judicial immunity. He was not functioning as a judge in

personally seizing and jailing the children. He later ordered them picked up in the

absence of UCCJEA subject matter and personal jurisdiction, where there was no

pending proceeding that would warrant that judicial sanction.

      Plaintiff-Appellee D. Bart Rockett, as next friend of his minor children K.R.

and B.R., prays this Court to AFFIRM the district court’s order denying judicial

immunity to Defendant-Appellant the Honorable Eric Eighmy; to AWARD him

his reasonable attorney’s fees and costs incurred in the appeal under 42 U.S.C. §

1988; and to GRANT such other relief as may be just, meet and reasonable.




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on all appellate counsel of record.

/s/ Hugh A. Eastwood




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